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 7                        UNITED STATES DISTRICT COURT
 8                      EASTERN DISTRICT OF WASHIGNTON
 9
10 UNITED STATES OF AMERICA,                      No. 2:13-cr-008-WFN-11
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12                     Plaintiff,                 ORDER GRANTING MOTION
13 vs.                                            TO MODIFY CONDITIONS
14 BRANDON LEIGH CHAVEZ,                          OF RELEASE (ECF No 2033)
15
16                     Defendant.
17
18         BEFORE THE COURT is Defendant’S motion to modify the Order Setting
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     Conditions of Release, to permit travel to Western Washington for a medical
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21   appointment on May 1, 2014, the Court having reviewed the reasons for the
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     request, and finding good cause to exists, Now Therefore,
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24         IT IS HEREBY ORDERED that Defendant’s motion is GRANTED.

25         The conditions of release shall be modified to permit the Defendant to travel
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     to Western Washington on May 1, 2014. The Defendant may travel on May 1,
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28   2014, to Western Washington no sooner than 7:00 a.m., and must return to the
     ORDER - 1
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 1   Eastern District of Washington on May 1, 2014 no later than 11:59 p.m. All other

 2   terms and conditions of release remain in effect.
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           A copy of this Order shall be provided to counsel for Defendant and counsel
 4
 5   for the government.
 6
           DATED April 28, 2014.
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                                 _____________________________________
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                                           JOHN T. RODGERS
10                                UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
